                   7:16-cv-04643-KMK-PED Document 479
              Case 7:16-cv-05010-KMK-PED          610 Filed 11/09/20
                                                            11/08/20 Page 1 of 6
                           Sacks Associates, P.C.
                                          ATTORNEYS-AT-LAW
                                           www.sacksassociates.com
420 Lexington Avenue, Suite 300                                                    650 Poydras St., Ste. 2708
New York, New York 10017                                                           New Orleans, LA 70130
Telephone: 212-297-6244                                                            Telephone: 504-460-4607


                           PLEASE REPLY TO: LEXINGTON AVENUE. : POYDRAS STREET 9

Writer’s direct email: asacks@sacksassociates.com                                    Alan R. Sacks (NY, LA, TX)




                                             8 November 2020

      VIA ECF

      Hon. Kenneth M. Karas, U.S.D.J.
      United States District Court
      Southern District of New York
      300 Quarropas Street
      White Plains, NY 10601-4150

                     Re: In re Specialist, Trevor, etc., Vessel Owner Limitations Actions/Claims
                     Civ. Action No. 16-cv-04643 (KMK) (PED); 16-cv-05010; 16-cv-7001

      Dear Hon. Karas:

             The undersigned represents Underwriters at Lloyds who had paid in full for the Tug
      Specialist’s pollution remediation and now seeks recovery from, and to the extent of fault of
      Weeks Marine’s Tug Trevor.

              Due to COVID, an unfortunate conflict has arisen in my schedule preventing
      appearing at a phone status conference set for Monday 9 November at 3:30 p.m. Details are
      in the annexed email. Essentially, my quarantine received on 5 May keeps me from the first
      leg of travel plans, with travel only possible coinciding with the conference time.

             Responses from other counsel disclose no objection. May I therefore prevail on the
      court to shift the conference to earlier that day, perhaps before 12:30, or a later day this
      same week? I sincerely regret the inconvenience to the Court and colleagues and am
      grateful for the indulgence.
 The status conference today will
                                                  Respectfully and Sincerely,
 be held at 12:30pm instead of
 3:30pm as originally scheduled.                Alan Sacks
 White Plains, NY                                 Alan R. Sacks
 November 9, 2020                                 504-460-4607
      Encl.
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            7:16-cv-04643-KMK-PED Document 479
                                           610 Filed 11/09/20
                                                     11/08/20 Page 2 of 6


From: Alan Sacks
Sent: Friday, November 6, 2020 11:08 PM
To: jperrone@gmplawfirm.com; 'Todd Kenyon' <TKenyon@bvgklaw.com>
Cc: 'AJ Evans' <AEvans@bvgklaw.com>; 'Amoresano, Guy V.' <GAmoresano@gibbonslaw.com>; 'William
Bennett III' <wbennett@blankrome.com>; 'Lauren Wilgus' <lwilgus@blankrome.com>; 'Ron Betancourt'
<RBetancourt@bvgklaw.com>; 'Torcicollo, Peter J.' <PTorcicollo@gibbonslaw.com>; 'Portnoy, Samuel I.'
<SPortnoy@gibbonslaw.com>; 'Kristin Poling' <kpoling@rubinfiorella.com>; 'Michael Stern'
<MStern@rubinfiorella.com>
Subject: RE: E470 - Specialist

All:

I am now in a predicament on account of a conflict with the 3:30 phone conference with
Hon. Karas on Monday 9th.

Yesterday (5th November) I received a notice and order that I am to quarantine until the 9th.
See attached pdf. I pleaded with Westchester Health Dep’t. today to push it back one day to
allow me to travel on the 8th, as I was already booked for Savannah, then on to Palm Beach
to see my mom morning of the 10th and take her to an MD appointment that day. Health
admin would not budge so I cancelled Savannah, from where I would have called in. Now I
fly first opportunity after ending of quarantine, and with no feasible flight on 1oth, I’m
forced to fly the 9th. The only flight is at, you guessed it, 3:30. Like being hit by a chunk of
Skylab.

I plan to write Hon Karas to apply for a change in our conference. Is there any objection to
moving the conference to an earlier time that day? Or some other time? I suppose I would
rather suffer the ire of my colleagues and of our presiding judge than my mom’s. So would
you.

That aside, please advise soonest that I may apply to the Court with an unopposed request.

Cordially quarantined in Bronxville,

Alan


Alan Sacks
Alan R. Sacks
Sacks Associates, P.C.
420 Lexington Avenue, Ste. 300
New York, NY 10170
Tel: 212-297-6244
Fax: 212-986-1952
Mob: 504-460-4607
asacks@sacksassociates.com
gosacks@gmail.com
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system. Thank you for your cooperation.




From: jperrone@gmplawfirm.com <jperrone@gmplawfirm.com>
Sent: Thursday, November 5, 2020 11:48 AM
To: Alan Sacks <asacks@sacksassociates.com>; 'Todd Kenyon' <TKenyon@bvgklaw.com>
Cc: 'AJ Evans' <AEvans@bvgklaw.com>; 'Amoresano, Guy V.' <GAmoresano@gibbonslaw.com>; 'William
Bennett III' <wbennett@blankrome.com>; 'Lauren Wilgus' <lwilgus@blankrome.com>; 'Ron Betancourt'
<RBetancourt@bvgklaw.com>; 'Torcicollo, Peter J.' <PTorcicollo@gibbonslaw.com>; 'Portnoy, Samuel I.'
<SPortnoy@gibbonslaw.com>; 'Kristin Poling' <kpoling@rubinfiorella.com>; 'Michael Stern'
<MStern@rubinfiorella.com>
Subject: RE: E470 - Specialist

All,
Judge Karas Chamber’s just returned my call of Tuesday.
The conference on Monday (11/9) at 3:30 pm will be by telephone with the dial in instructions
being docketed tomorrow.
Joe

                               Joseph J. Perrone, Partner
                               Giuliano McDonnell & Perrone, LLP
 New York City                 Long Island                   New Jersey
 5 Penn Plaza                  170 Old Country Road          2001 US Hwy 46
 23rd Floor                    Suite 608                     Suite 104
 New York, NY 10001            Mineola, NY 11501             Parsippany, NJ 07054
 Tel: (646) 328-0120           Tel:   (516) 214-8448         Tel: (973)-302-0120
 Fax: (646) 328-0121           Fax: (516) 414-7905           Fax: (973)-302-0121
 Cell: (718) 755-9984          SmPh: (646) 327-9814          www.gmplawfirm.com
We strive to be paperless - please send all mail to our Long Island office for scanning
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you.


From: Alan Sacks <asacks@sacksassociates.com>
Sent: Tuesday, November 3, 2020 11:22 AM
To: jperrone@gmplawfirm.com; 'Todd Kenyon' <TKenyon@bvgklaw.com>
Cc: 'AJ Evans' <AEvans@bvgklaw.com>; 'Amoresano, Guy V.' <GAmoresano@gibbonslaw.com>; 'William
Bennett III' <wbennett@blankrome.com>; 'Lauren Wilgus' <lwilgus@blankrome.com>; 'Ron Betancourt'
<RBetancourt@bvgklaw.com>; 'Torcicollo, Peter J.' <PTorcicollo@gibbonslaw.com>; 'Portnoy, Samuel I.'
<SPortnoy@gibbonslaw.com>; 'Kristin Poling' <kpoling@rubinfiorella.com>; 'Michael Stern'
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             7:16-cv-04643-KMK-PED Document 479
                                            610 Filed 11/09/20
                                                      11/08/20 Page 4 of 6


<MStern@rubinfiorella.com>
Subject: RE: E470 - Specialist

Very kind of you Joe. Much obliged.

For the sake of good order, I’ll be away on personal business 8-14 November so a telephone
is the only feasible way that I can participate.

Cordially & Sincerely,

Alan

Alan Sacks
Alan R. Sacks
Sacks Associates, P.C.
420 Lexington Avenue, Ste. 300
New York, NY 10170
Tel: 212-297-6244
Fax: 212-986-1952
Mob: 504-460-4607
asacks@sacksassociates.com
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system. Thank you for your cooperation.
                                   Case 7:16-cv-05010-KMK-PED
                                        7:16-cv-04643-KMK-PED Document 479
                                                                       610 Filed 11/09/20
                                                                                 11/08/20 Page 5 of 6
Archived: Friday, November 6, 2020 10:03:52 PM
From: commcarehq-noreply-production@dimagi.com
Sent: Thursday, November 5, 2020 9:26:44 AM
To: gosacks@gmail.com
Subject: SECURE: Health information Re: Quarantine
Importance: Normal



STATE OF NEW YORK
COUNTY OF WESTCHESTER DEPARTMENT OF HEALTH

In the Matter of

The Quarantine of

NAME: Alan Sacks
DATE OF BIRTH: 1952-09-21


Pursuant to Section 2100 of the Public Health Law and Section 873.401 of the Westchester County Sanitary Code




     WHEREAS, 2019-Novel Coronavirus (COVID-19) is an infection associated with fever and signs and symptoms of pneumonia or other respiratory illness, appears to be transmitted from person to person predominantly
through droplet transmission and, if spread in the population, could have significant public health consequences; and
     WHEREAS, on January 30, 2020 the World Health Organization designated the COVID-19 outbreak as a Public Health Emergency of International Concern, advising that further cases may appear in any country; and
     WHEREAS, on January 31, 2020, Health and Human Services Secretary Alex M. Azar II declared a public health emergency for the entire United States to aid the nation’s healthcare community in responding to COVID-19; and
     WHEREAS, on February 1, 2020, pursuant to 10 NYCRR Section 2.1(a), Dr. Howard A. Zucker, as Commissioner of Health of the State of New York, designated COVID-19 as a communicable disease under the State Sanitary
Code, which was ratified by the New York State Public Health and Health Planning Council on February 6, 2020; and
     WHEREAS, Section 2100 of the Public Health Law mandates that all local health officers, being Commissioners of Health and Public Health Directors, as the case may be, of County Health Departments, guard against the
introduction of such communicable diseases as are designated in the State Sanitary Code, by the exercise of proper and vigilant medical inspection and control of all persons and things infected with or exposed to such diseases;
and
     WHEREAS, 10 NYCRR 2.29 provides that whenever a case of a highly communicable disease (as defined in 10 NYCRR Section 2.1) comes to the attention of the local health officer of a county, such local health officer shall
isolate such patients as in his judgment he deems necessary; and
     WHEREAS, you have been identified as meeting the criteria for Mandatory Quarantine as required by the NYSDOH Guidance;
     NOW, THEREFORE, by virtue of the authority vested in me by section 2100 of the Public Health Law of the State of New York and 10 NYCRR 2.25(f) and Section 873.401 of the Westchester County Sanitary Code, as
Commissioner of the Westchester County Department of Health, I do hereby:
     ORDER that, effective upon your receipt of this order, you are hereby directed to travel directly to, if not already located there, and remain quarantined at your residence, or other location as directed by the Department of
Health, as a result of having been exposed to a communicable disease as defined in 10 NYCRR Section 2.1, specifically 2019-Novel Coronavirus (COVID-2019), consistent with guidance from the CDC and NYSDOH, until 2020-11-
09; and
     ORDER that, effective upon your receipt of this order, you follow the quarantine protocols attached to this Order.



     FURTHER, in the event that you:
1) test positive for COVID-19, upon notification from the Westchester County Department of Health, New York State Department of Health, CDC, or medical provider of the positive result; or
2) begin experiencing any of the following symptoms of COVID-19: fever, cough, shortness of breath or difficulty breathing, chills, repeated shaking with chills, muscle pain, headache, sore throat, or new loss of taste or smell;
you are ORDERED to remain isolated at your residence, or at another location if transfer is required and made with the agreement of the Westchester County Department of Health, subject to the isolation protocols attached
hereto. If you are subject to isolation pursuant to this provision, this Order shall remain in effect until such time as you have met the clearance criteria as set forth by the New York State Department of Health.
     ORDER, that if you begin experiencing any of the symptoms of COVID-19 identified in the preceding paragraph, you must contact the Westchester County Department of Health immediately to report the onset of symptoms.
FURTHER, I DO HEREBY give notice that your failure to comply with the provisions of this Order may subject you to criminal prosecution pursuant to the terms of Section 12-b of the Public Health Law;
FURTHER, I DO HEREBY give notice that you have a right to challenge this Order in a Court of competent jurisdiction and to be represented by legal counsel or to have counsel provided and that if you qualify to have counsel
provided, such counsel will be made available. To the extent necessary, the Health Department will request that you be allowed to participate in any such proceeding by telephonic or video-conferencing means so that you will not
be required to violate this Order to appear in Court;
FURTHER, you may supply to the County Health Department the addresses and/or telephone numbers of friends and/or relatives to receive notification of your quarantine. At your request, the County Health Department shall
provide notice to a reasonable number of such persons that you are being quarantined.
DATED: WHITE PLAINS, NEW YORK
[DATE ISSUED]



                   DR. SHERLITA AMLER, M.D., COMMISSIONER
                   WESTCHESTER COUNTY DEPARTMENT OF HEALTH

Westchester County Department of Health
Quarantine Protocol for 2019-Novel Coronavirus (2019-nCoV)

1. I will remain at my location for the duration of the quarantine period. If I test negative for COVID-19 I will continue to be subject to quarantine for the entire quarantine period.

2. I am not permitted to attend work or school outside my home. I will not visit enclosed public spaces (grocery stores, drugstores, department stores, shopping malls, theaters, religious services, community centers) or attend any
social gatherings.

3. WCDH or NYS contact tracers may communicate with me at least daily to check my condition and symptoms during the quarantine period. I am required to answer their questions regarding my condition. During the quarantine
period, WCDH may make unannounced visits.

4. If I am housed together with family or others then such household members are permitted to remain in the home but are not subject to a quarantine, and therefore may leave the home.

If I subsequently test positive, those household members will be required to quarantine and will not be able to leave the home. Other non-household members/visitors are not permitted in my living quarters.
I will not share my bed, bedroom or bathroom with household members and will keep my bedroom door closed. I will not eat in the same room with household members and I will not share linens, towels, eating utensils, cups and
plates. I will limit my time in common household area such as bathrooms and kitchens. If a bathroom must be used by a person other than the person requiring isolation, the toilet seat and any touched surfaces are to be
disinfected by the person requiring isolation after each use. A diluted household bleach solution is optimal for such disinfection. Disinfection guidance can be found at https://www.cdc.gov/coronavirus/2019-ncov/prevent-
getting-sick/disinfecting-your-home.html

5. Persons in the household can walk outside their house on their own property, but they must not come within six feet of neighborhoods or other members of the public. Persons living in a multiple dwelling may not utilize
common stairways or elevators to access the outside. Likewise I need to refrain from walking in my neighborhood.

6. All household members will be informed of my quarantine status.
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                                                                        610 Filed 11/09/20
                                                                                  11/08/20 Page 6 of 6
7. Garbage should be bagged and left outside my door for pickup.

8. If I have a fever of 100.4 F/ 38.0 C (or feel feverish) or develop any other symptoms of 2019-nCoV infection, I will report this to the WCDH or NYS contact tracers as part of my daily monitoring. I will also call my medical
provider and inform my provider that I am under quarantine for COVID-19 and have become symptomatic. If I don’t have a provider I will ask the WCDH or NYS contact tracer where I can go for medical care:

Symptoms include: fever, cough, shortness of breath or difficulty breathing, chills, repeated shaking with chills, muscle pain, headache, sore throat, or new loss of taste or smell.

9. If I, or any household member, experiences a life threatening condition, call 911 and notify the caller that a person in the living quarters is under quarantine for 2019-nCoV infection so that responders can take proper precautions.

10. I am aware that if I become symptomatic or ill, those persons staying with me in my living quarters, may be subject to mandatory quarantine and I may be subject to isolation.

11. As part of my daily monitoring, I will notify the WCDH or NYS contact tracers of any needed care or services such as food, supplies, medicine or other supports that I require. If I require immediate attention, I can call 866-588-
0195

Westchester County Department of Health
Isolation Protocol for 2019-Novel Coronavirus (2019-nCoV)

1. I will remain at my location for the duration of the isolation period.

2. I am not permitted to attend work or school outside my home. I will not visit enclosed public spaces (grocery stores, drugstores, department stores, shopping malls, theaters, religious services, community centers) or attend any
social gatherings.

3. WCDH or NYSDOH contact tracers may communicate with me at least daily to check my condition and symptoms during the isolation period. I am required to answer their questions regarding my condition. During the isolation
period, WCDH may make unannounced visits.

4. If I am housed together with family or others then such household members are permitted to remain in the home but will not be permitted to leave the home. Other non-household members/visitors are not permitted in my living
quarters. I will not share my bed, bedroom or bathroom with household members and will keep my bedroom door closed. I will not eat in the same room with household members and I will not share linens, towels, eating utensils,
cups and plates. I will limit my time in common household area such as bathrooms and kitchens. If a bathroom must be used by a person other than the person requiring isolation, the toilet seat and any touched surfaces are to be
disinfected by the person requiring isolation after each use. A diluted household bleach solution is optimal for such disinfection. Disinfection guidance can be found at https://www.cdc.gov/coronavirus/2019-ncov/prevent-
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10. As part of my daily monitoring, I will notify the WCDH or NYS contact tracers of any needed care or services such as food, supplies, medicine or other supports that I require. If I require immediate attention, I can call 866-588-
0195

11. I, or my legal guardian, may contact the WCDH for any questions or concerns with this protocol. Please contact the number above.
